Case 1:04-cr-00911-JS Document 476-4 Filed 10/01/07 Page 1 of 4 PagelD #: 2904

Exhibit C
Case 1:04-cr-00911-JS Document 476-4 Filed 10/01/07 Page 2 of 4 PagelD #: 2905

80
OPENING/LARUSSO

provide them with what ‘thie needed, somebody on the inside.

What this case actually comes down to, and the
evidence will show and what we will demonstrate, is three
cooperators and their testimony, their testimony about
conversations they had with Jackie DeRoss, with nobody
present. There's no tape, there's no witness to verify the
conversations. They are statements that these witnesses say
occurred. The evidence will show they didn't.

We will prove, ladies and gentlemen, during the
trial,..especially at.its conclusion, that those conversations
with Mr. DeRoss, they never occurred. They were stories.
They were fabricated by -- and I'm not going to go into their
criminal past. They're habitual criminals. They're serial
liars, and you will hear them testify, over and over again,
about how they lie and the motives behind it. They're
motivated out of self-interest and self-preservation, and most

disturbingly, the government was manipulated and deceived by

Credibility then is going to be the key issue here,
and, you know, I was researching this particular point for

some comment I could make régarding what we intend to prove,

and I found one by a-law professor and I think it will sum up

the evidence that we will show you.
‘'"The cooperating” --' and this a quote, "A

cooperating witness is probably the most dangerous witness of

Case 1:04-cr-00911-JS Document 476-4 Filed 10/01/07 Page 3 of 4 PagelD #: 2906

81
OPENING/LARUSSO

all. No other witness has such extraordinary incentive to
lie. Furthermore, no other witness has the capacity to
manipulate, mislead and deceive his investigative and

prosecutorial handlers. With the prosecutor, the cooperating

witness provides the most damaging evidence against the

defendant, is capable of lying convincingly and typically is

believed by the jury."

8 We'll prove that that's what happened here. These
9 individuals who had a substantial motive to lie. They were
10 trying to_.obtain.their. freedom as early as they possibly can,

11 gave the government what the government wanted to hear.

12 "We'll also prove, ladies and gentlemen, that these
13 cooperators actually played upon the government's intense
14 desire to pin the charges on Jackie DeRoss. You know what?

15 They let these men have a very sweetheart deal for that

16 testimony, those false stories.

17 The evidence will show that the government is

18 well-intentioned, .ladies and gentlemen, as hard working as
19 they are and as professional as they are, to deceive and to
20 accepting these false versions by career criminals and

21 professional liars.” They put blinders on.

22 ‘Our evidence will show that the witnesses lied to

23 the F.B.I., they” lied to the.government and they will be lying
24 to you. Thank“you. > ~

25 THE COURT:~ All right. What we will do, I was --

oa wey te ees
Case 1:04-cr-00911-JS Document 476-4 Filed 10/01/07 Page 4 of 4 PagelD #: 2907

3663
SUMMATION/LaRUSSO

upon that information and the war began. And only later,
unfortunately much later, did the truth surface, and we all
have sadly come to realize that the information was wrong.
There were no weapons of mass destruction.

Here the government has begun with a preconceived
theory that Persizo and Jackie DeRoss were behind the
disappearance of Cutolo and the shooting of Campanella. You
have Salome, Campanella and Floridia, professional liars and
manipulators. They gave the government what they wanted to
hear in return for their freedom.

And the last comment I have is -- I actually made
mention to you in my opening. I think it is appropriate now,
as it was then, a statement in a Law Review article by a
professor: "The cooperating witness is probably the most
dangerous prosecution witness of all. No other witness has
such an extraordinary incentive to lie."

Furthermore, no other witness has the capacity to
manipulate, mislead and deceive his investigative and
prosecutorial handlers. The cooperating witness provides the
most damaging evidence against the defendant. Is capable of

lying convincingly, and typically is believed by the jury.

I believe, ladies and gentlemen, we have proven that
these cooperators in fact have lied to you, and I ask you to
return a verdict of not guilty with regard to Mr. DeRoss.

Thank you.

FREDERICK GUERINO OFFICIAL COURT REPORTER

